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    THE LAW OFFICES OF STEVEN D. PERTUZ, LLC
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Our Ref: SP:34B-22P
                                                                     1 September 2023
BAV Auto, LLC
80 Columbia Avenue
Kearny, NJ 07032Mr. Alexander Da Costa
BAV Auto LLC


                      INVOICE FOR PROFESSIONAL SERVICES

                      Memorandum of Costs and Disbursements
                                   BAV AUTO, LLC
  Joint Administration with In re: Alexandre J. DaCosta and Vivianne C. Antunes (22-
                                  17933/22-18303 JKS)


Professional Fees
 Date       Description                         Hours                       Amount
 09/30/2022 Initial Meeting with Client in      2.20                        $715.00
            Hackensack, NJ Dunkin Donuts
 10/03/2022 Review of all documents             2.60                         $845.00
            uploaded onto Drop Box.
 10/03/2022 Preparation of initial Voluntary    1.20                         $390.00
            Petition, Corporate Resolution
            and initial pleadings needed for
            filing.
 10/06/2022 Filing Fee Chapter 11                                          $1,738.00
 10/06/2022 Review of judgment lien, UCC        1.30                        $422.50
            and title search for BAV Auto and
            personal guarantee records.
 10/06/2022 Review of emergency petition and    0.60                         $195.00
            corporate resolution with client
            for signature and filing.
 10/06/2022 Phone call with client on urgency   0.20                          $65.00
            to file as floor plan lenders are
            trying to repossess vehicles.
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 10/07/2022 Phone call with Charles            0.30                   $97.50
            Ognibene, Esq. from Duane
            Morris on Vero DIP offer.
 10/08/2022 UCC Lien and Judgment Search                             $325.00
            Fees.
 10/10/2022 Conference Call with John Mizi,    0.60                  $195.00
            client and Charles Ognibene on
            options for DIP Financing and
            repayment terms.
 10/11/2022 Review and revised proposed        1.30                  $422.50
            settlement agreement for balance
            due Vero/Lever and DIP
            Financing proposal with Charles
            Ognibene, Esq.
 10/12/2022 Phone call with Carmine Zeccardi   0.30                   $97.50
            on BAV Auto Bankruptcy and
            potential interest in inventory.
            Discussions on Lexus of
            Englewood BK.
 10/13/2022 Preparation of Retention           1.80                  $585.00
            Application for SDP LLC as
            counsel.
 10/17/2022 Phone call with Carmine Zeccardi   0.20                   $65.00
            on prospective purchase of
            vehicles.
 10/18/2022 Phone conference with John         2.50                  $812.50
            Oboyle, Esq. on new matter and
            need to personal representation
            for Order To Show Cause and
            possible personal bankruptcy
            options.
 10/18/2022 Phone call with John O'Boyle,      1.30                  $422.50
            Esq. on personal bankruptcy of
            DaCosta/Antunes and all issues
            involved.
 10/18/2022 Email to John O'Boyle, Esq. lien   0.90                  $292.50
            search against business and
            individuals for bankruptcy.
            Review of all complete lien
            search and determining status of
            creditors and their position.
 10/19/2022 Phone call with Monica             0.30                   $97.50
            Kirkpatrick from Legalist on DIP
            Financing opportunities.
 10/19/2022 Conference call with Vivianne,     0.60                  $195.00
            Alexander and John O'Boyle,
            Esq. regarding need to file
            personal bankruptcy and review
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              of relief requested in Order to
              Show Cause.
 10/20/2022   Review of inventory list and        0.50                 $162.50
              submitted same to Carmine
              Zeccardi on potential interest.
 10/22/2022   Review of all records provided by   6.00                $1,950.00
              the Client and preparation of
              schedules.
 10/24/2022   Email to Alan Atkins with           0.10                  $32.50
              attached inventory to determine
              fee for a report.
 10/25/2022   Conference call with Legalist DIP   0.50                 $162.50
              Financing Lender on options
              regarding possible loan.
 10/25/2022   Phone call with George Lawler       0.30                  $97.50
              and Alex on review of inventory
              list and interest in purchasing
              inventory.
 10/27/2022   Phone call with John O'Boyle,       0.40                 $130.00
              Esq. on status of negotiations
              with potential buyers and case
              moving forward. Options for joint
              administration in Subchapter 5
              scenario.
 10/27/2022   Review and response to email        0.20                  $65.00
              from Trustee Mark Politan, Esq.
              and status of where things stand.
 10/28/2022   Review or Order of Retention for    0.10                  $32.50
              SDP LLC
 10/30/2022   Preparation of all schedules and    5.50                $1,787.50
              review of all loan, banking and
              corporate documents.
 10/31/2022   Review of all documents to          4.50                $1,462.50
              finalize preparation of schedules
              and Statement of Financial
              Affairs.
 10/31/2022   Phone conference with Alex          0.60                 $195.00
              DaCosta on items to be discussed
              at IDI with the Business
              Examiner.
 10/31/2022   Preparation and review of           0.30                  $97.50
              Statement required as per U.S.C.
              1116 and Statement of Corporate
              Ownership.
 11/01/2022   Initial Debtor Interview with       1.30                 $422.50
              Office of US Trustee and Sub 5
              Chapter 11 Trustee.
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 11/01/2022 Review of Order Respecting          0.20                   $65.00
            Amendments to schedules for
            service.
 11/04/2022 Review of Notice regarding          0.10                   $32.50
            Telephonic 341(a).
 11/08/2022 Meeting with clients and John       2.20                  $715.00
            O'Boyle, Esq. to discuss options
            on case and converting to Sub V
            on personal side. Review of
            assets to pay into the case and
            review of questions for 341A
            hearing.
 11/08/2022 Phone call with John O'Boyle,       0.40                  $130.00
            Esq. on Motion for Joint
            Administration and need to
            prepare same.
 11/09/2022 Preparation for and attendance of   2.50                  $750.00
            341(a) Hearing telephonically
            with clients.
 11/14/2022 Phone conference with Peter         0.60                  $195.00
            D'Auria, Esq., Mark Politan, Esq.
            and John O'Boyle, Esq. regarding
            joint administration and
            conversion of Chapter 13 case to
            Sub Chapter 5.
 11/15/2022 Initial review of Motion For        0.30                   $97.50
            Relief From Stay by AFC.
 11/15/2022 Review and comments on Motion       0.30                   $97.50
            For Joint Administration before
            filing.
 11/16/2022 Review of Individual Debtor's       0.20                   $65.00
            Motion To Convert Case to
            Chapter 11 and For Joint
            Administration.
 11/18/2022 Review of Application for           0.20                   $65.00
            Chrisopher Arisco, Esq. for Pro
            Hac Vice admission
 11/18/2022 Review of Pro Hac Vice              0.20                   $65.00
            admission of Owen Babcock, Esq
 11/19/2022 Preparation and filing of Status    0.20                   $65.00
            Report for Debtor.
 11/22/2022 Preparation for and attendance of   2.00                  $650.00
            Status Conference before Judge
            Sherwood.
 11/29/2022 Phone call with Donna               0.30                   $97.50
            Thompson, Esq. for AFC on MFR
            and proposal for consent order.
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 11/29/2022 Preparation of Certification In       1.30                 $422.50
            Opposition To Stay Relief Motion
            of AFC
 11/29/2022 Review of Objection To                0.20                  $65.00
            Confirmation of Plan from JP
            Morgan Chase.
 11/30/2022 Review of Orders Authorizing          0.20                  $65.00
            Pro Hac Vice admission for
            Babcock and Arisco.
 12/06/2022 Phone call with Donna                 0.20                  $65.00
            Thompson, Esq. on MFR for
            AFC.
 12/07/2022 Review and discussion with client     0.30                  $97.50
            on Objection to Motion For Joint
            Administration filed by US
            Trustee.
 12/12/2022 Phone call with John O'Boyle,         0.30                  $97.50
            Esq. on upcoming hearing on
            Wednesday regarding status
            conference, motion for stay relief,
            motion for conversion and motion
            for joint administration of case.
 12/12/2022 Preparation and forwarding of         0.30                  $97.50
            emails to all floorplan lenders on
            their position on a sale of all
            inventory free and clear of liens.
            Review of response on same.
 12/13/2022 Conference call with John             0.80                 $260.00
            O'Boyle, Esq. Peter D'Auria, Esq.
            and Mark Politan, Esq. on
            motions to be heard and Trustee's
            objection to same.
 12/13/2022 Review of Lease Agreement with        0.30                  $97.50
            new tenant for Rahway location.
 12/13/2022 Preparation of email and response     0.20                  $65.00
            thereto of email with with Donna
            Thompson, Esq. regarding AFC
            MFR.
 12/13/2022 Phone call with Donna                 0.10                  $32.50
            Thompson, Esq. regarding AFC
            MFR.
 12/14/2022 Attendance at Status Conference       1.20                 $390.00
            for case, and hearings on joint
            administration, conversion of
            individual cases.
 12/14/2022 Phone call with Mark Politan,         0.20                  $65.00
            Esq. about sale request through
            plan.
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 12/14/2022 Phone call with Alex DaCosta,       0.30                   $90.00
            regarding lease agreement for
            location, retainer needed for Sub
            5 Trustee, continuation with
            insurance.
 12/14/2022 Phone call with Donna Thompson      0.20                   $65.00
            from AFC and discussions on stay
            relief motion and resolution on
            other vehicles.
 12/18/2022 Phone call with Alan Atkins on      0.30                   $97.50
            vehicle list and review of the
            inventory.
 12/19/2022 Review of Order Granting Stay       0.10                   $32.50
            Relief From AFC.
 12/20/2022 Review of Alan Atkins appraisal     0.40                  $130.00
            report.
 12/20/2022 Phone call with Carmine Zeccardi    0.30                   $97.50
            on sale option of vehicles.
 12/21/2022 Phone call with John O'Boyle,       0.30                   $97.50
            Esq. on BAV and conference with
            clients to prepare the plan.
 12/21/2022 Preparation of Retention            0.60                  $195.00
            Application for Alan Atkins, Esq.
 12/21/2022 Review of IRS correspondence        0.20                   $65.00
            and missing returns needed.
            Forwarded same to client and
            recommended accountant.
 12/21/2022 Preparation of Fax to IRS           0.20                   $65.00
            Bankruptcy Unit and submitted
            2019 Return.
 12/21/2022 Call with George from Giordano      0.30                   $97.50
            Auto Sales on purchase of
            vehicles free and clear.
 12/21/2022 Review of Order Granting Motion     0.20                   $65.00
            To Convert Case to Chapter 11.
 12/28/2022 Meeting with client and JOB         3.50                 $1,137.50
            regarding preparations for Joint
            Plan and all claims filed.
 12/28/2022 Review of emails for Alex email     0.30                   $97.50
            on vehicles that liens were not
            paid on a trade in.
 12/28/2022 Preparation and filing of           0.70                  $227.50
            Retention Application of A.
            Atkins Appraisal Corp.
 12/28/2022 Review of appraisal report of A.    0.60                  $195.00
            Atkins.
 12/31/2022 Review of all secured creditors     4.50                 $1,462.50
            and related security agreements,
            promissory notes, UCC-1 Filings
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              and dates of recording to
              determine priority of liens
              understanding extent and validity
              of liens.
 01/02/2023   Organization and preparation of       5.40              $1,755.00
              details and review of all notes for
              Plan preparation.
 01/03/2023   Preparation and modification of       12.30             $3,997.50
              joint Plan with John O'Boyle,
              Esq. , review of personal
              bankruptcy docket and
              understanding creditors on
              individual side and its affect on
              BAV Auto LLC business side.
              Review and preparation of
              treatment of different classes of
              creditors and collaboration with
              John O'Boyle, Esq. on final
              details before filing.
 01/03/2023   Email to UCC filing services for      0.20                $65.00
              obtaining identity of various
              UCC-1 Lienholders and balances
              owed.
 01/04/2023   Phone call with John O'Boyle,         0.20                $65.00
              Esq. on changes for plan and
              review of same. Email offer from
              Giordano Auto Sales on Car
              Inventory.
 01/04/2023   Phone call with John O'Boyle,         0.10                $32.50
              Esq. on last minute revisions for
              plan. Need to file a notice of
              appearance in the individual case.
 01/05/2023   Preparation and filing of Notice      0.20                $65.00
              Of Appearance of BAV in
              individual case.
 01/05/2023   Preparation of letter to Mark         0.20                $65.00
              Politan, Esq. forwarding deposit
              on this fees. Email to Mark
              Politan, Esq. regarding same.
 01/05/2023   Review of Order Granting Alan         0.10                $32.50
              Atkins as Appraiser.
 01/05/2023   Review of Order Setting               0.20                $65.00
              Deadlines and Scheduling
              Confirmation Hearing. Emailed
              same to client for review.
 01/10/2023   Phone call with George Lawler         0.20                $65.00
              from Giordano Auto Sales on
              purchase and need for proof of
              funds.
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 01/15/2023 Review of Mark Politan, Esq. fee     0.20                  $65.00
            application.
 01/16/2023 Phone call with John O'Boyle,        0.20                  $65.00
            Esq. on adjournment of Motion
            For Joint Administration.
 01/17/2023 Review of Motion For Relief          0.40                 $130.00
            From Stay from Auction Credit
            Enterprises and forwarded to
            client for discussion on same.
 01/18/2023 Phone call with John O'Boyle,        0.40                 $130.00
            Esq. on adversary proceedings
            filed against Alex and Vivianne
            individually and conference call
            with Mark Politan, Esq. on
            Thursday.
 01/19/2023 Phone call with Mark Politan,        1.10                 $357.50
            Esq. and John O'Boyle, Esq.
            regarding concerns
 01/19/2023 Preparation of Motion To             1.00                 $325.00
            Approve Sale Free and Clear Of
            Liens
 01/27/2023 Commenced with preparation of        9.80                $3,185.00
            Motion To Approve the Sale of
            the Debtor's Vehicle Inventory
            Free and Clear of Liens.
 01/28/2023 Review of Objection To               0.50                 $162.50
            Confirmation From US Trustee
            and AFC and forwarded to same
            for client review.
 01/29/2023 Finalization of Motion To            3.20                $1,040.00
            Approve Sale of Debtor's
            Inventory Free and Clear of
            Liens. Preparation of Order and
            Application To Shorten Time and
            filing same with court and
            notification sent to Chambers.
 01/29/2023 Phone call with Carlos Marzan of     0.20                  $65.00
            CAM Accounting regarding
            potential retention for open taxes
            and filing of operating reports.
 01/29/2023 Preparation of email with            0.20                  $65.00
            attachments of all bank statements
            and taxes filed and emailed to
            Carlos Marzan.
 01/29/2023 Preparation of email to George       0.20                  $65.00
            Lawler from Giordano Auto Sales
            on filed motion and need for
            proof of funds for purchase.
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 01/30/2023 Phone call with John O'Boyle,        0.30                  $97.50
            Esq. on filing of the motion to
            approve the sale of the vehicle
            inventory and request for hearing
            date and possible postponement
            of confirmation hearing.
 01/31/2023 Review and response to emails on     0.20                  $65.00
            the sale motion with John
            O'Boyle, Esq. and Mark Politan,
            Esq.
 01/31/2023 Review of objection to               0.30                  $97.50
            Confirmation of Plan by Westlake
            Flooring Company.
 01/31/2023 Review of Objection To               0.20                  $65.00
            Confirmation of Plan by XL
            Funding, LLC
 02/01/2023 Receipt and review of various        0.20                  $60.00
            emails with Chambers regarding
            the proposed Order Shortening
            Time and dates for hearings.
 02/01/2023 Review of Order Shortening Time      0.30                  $97.50
            and compliance with same on
            proper service to all parties.
 02/02/2023 Review of subpoena. Preparation      0.50                 $162.50
            of Letter to Vital Shah of the NJ
            Department Of Labor responding
            to Subpoena and sent via email
            and regular mail.
 02/07/2023 Preparation for hearing on Joint     0.80                 $260.00
            Administration of BAV Case and
            Individual Case. Status
            Conference For
            Antunes/DaCosta.
 02/07/2023 Phone call with John O'Boyle,        0.30                  $97.50
            ESq. on hearings for Tuesday and
            issue with concerns of Alex
            DaCosta.
 02/07/2023 Phone call with John O'Boyle,        0.10                  $32.50
            Esq. on hearing and issues on sale
            motion for 2/14.
 02/08/2023 Review of various objections to      1.70                 $552.50
            motion to sell Debtor's Inventory
            Free and Clear of Liens and
            preparation of response to same.
 02/10/2023 Phone Call with John O'Boyle,        0.30                  $97.50
            Esq. on Buyer not cooperating.
            Will need to withdraw the motion.
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 02/10/2023 Phone call with Alex DaCosta on        0.30                 $97.50
            Olympic Payroll Service on W-2
            and Sale Motion.
 02/13/2023 Preparation and filing of Status       0.20                 $65.00
            Change Form withdrawing
            Motion To Sell Vehicles Free and
            Clear Of Liens.
 02/13/2023 Preparation of email to Chambers       0.30                 $97.50
            and all interested parties of
            withdrawal of motion to sell
            inventory and filing of
            certification of service on motion.
 02/13/2023 Review of Order Granting Joint         0.20                 $65.00
            Administration of case.
 02/14/2023 Preparation for and attendance of      0.80                $240.00
            Status Conference for matter and
            informing the Court of where
            matters stand.
 02/14/2023 Preparation of Operating Reports       0.90                $292.50
            For October through January,
            2023 and Exhibit A and F for
            filing. Email to client to authorize
            same and for final review.
 02/14/2023 Phone call to Olympic Payroll to       0.20                 $60.00
            discuss release of W-2 for
            employees.
 02/17/2023 Meeting with Alex and JOB on           2.40                $780.00
            amendments to Plan and proposed
            payments to be made going
            forward.
 02/21/2023 Review of Modification of Plan         0.60                $180.00
            and new terms for better dividend
            to creditors.
 02/23/2023 Phone call with John O'Boyle,          0.20                 $65.00
            Esq. on retention of accountant
            and modifications to plan.
 02/24/2023 Review and preparation of              0.80                $260.00
            Monthly Operating Reports for
            October through December.
 02/28/2023 Review and comments for First          0.70                $227.50
            Modified Plan.
 03/02/2023 Conference call with John              1.20                $390.00
            O'boyle, Esq. and Mark Politan,
            Esq. on modified plan and current
            claims. Discussion of
            maximizing surrender value on
            vehicles. Seeking adjournment
            request.
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 03/15/2023 Review of Joint Debtor's Motion       0.30                  $97.50
            To Seller 1988 BMW Free and
            Clear of Liens on shortened time.
 03/16/2023 Phone call with John Oboyle,          0.30                  $97.50
            Esq. on plan revisions.
 03/20/2023 Phone call with John O'Boyle,         0.50                 $162.50
            Esq. on need to get consent orders
            circulating to get vehicles off of
            the lot. Proposal of resolutions on
            adversay proceeding extending
            time and modified plan terms.
            Phone call discusion with Owen
            Babcock, Esq.
 03/24/2023 Phone call with John Oboyle,          0.40                 $130.00
            Esq. on modified plan and
            accountant for retention.
 03/24/2023 Review of Claims of IRS and NJ        0.30                  $97.50
            Division of Taxation with
            estimated figures. Email same to
            proposed new accountant.
 03/28/2023 Review of Objection To                0.30                  $97.50
            Confirmation Of Plan filed by
            IRS and discussion with client on
            concerns raised.
 03/30/2023 Phone call with John O'boyle,         0.30                  $90.00
            Esq. on need for increase in plan
            payment and consent to stay relief
            for vehicles.
 04/02/2023 Review of modified plan and           0.60                 $195.00
            comments on revisions to same
            with John O'Boyle, Esq. for
            comment.
 04/03/2023 Preparation of Retention              0.90                 $292.50
            Application For Guzman
            Consulting LLC as Accountants
            for Debtors.
 04/03/2023 Phone call with Alex DaCosta          0.20                  $65.00
            regarding need to increase initial
            Plan payment to $125,000.00.
            Discussion on funds from sale of
            BMW.
 04/04/2023 Phone call with George Guzman         0.60                 $195.00
            and review of operating
            guidelines, IRS proof of claim
            and NJ Division Taxation Proofs
            of Claim. Discussed certification
            for retention of professional and
            needed assistance with unfiled
            returns.
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 04/04/2023 Phone call and email to Erica            0.20                $65.00
            Hamlin of NJ Division of
            Taxation regarding NJ Proof of
            Claim and request for Sales and
            Use tax returns.
 04/04/2023 Various emails prepared to               0.30                $97.50
            George Guzman, proposed
            accountant for Debtors
            forwarding all banking records in
            my possession.
 04/04/2023 Review and response to John              0.20                $65.00
            O'Boyle, Esq. emails regarding
            IRS and NJ Taxation claims.
            Updates on the 2nd modified
            plan.
 04/04/2023 Review of 2nd Modified Plan and          0.40               $130.00
            comments to John O’Boyle, Esq.
            regarding same.
 04/20/2023 Review of emails from Chambers           0.40               $130.00
            and request to update Retention
            Application of Guzman as
            accountant.
 04/24/2023 Conference call with John                0.70               $227.50
            O’Boyle, Esq. and client on
            moving these vehicles on the lot
            and Lamborghini that needs to be
            surrendered.
 04/30/2023 Review of Mark Politan, Esq. Fee         0.20                $65.00
            Application.
 05/02/2023 Updated the retention application        0.60               $195.00
            of Guzman Consulting as
            accountant and forwarded same to
            chambers.
 05/02/2023 Preparation of email to George           0.20                $65.00
            Guzman on concerns court has on
            retention application.
 05/03/2023 Phone call with John O'Boyle,            0.30                $97.50
            Esq. on plan objections and
            amended retention application
            and clarification of fees for
            accountant.
 05/05/2023 Phone call with Donna                    0.30                $97.50
            Thompson, Esq. on AFC vehicles
            remaining on the lot and consent
            for stay relief. Request for a list of
            remaining AFC vehicles from
            client.
 05/05/2023 Phone call with Joseph Lemkin,           0.30                $97.50
            Esq. on Order for Stay Relief and
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              arranging for retrieval of these
              vehicles. Review of Order with
              counsel to determine specific
              vehicles to be recovered.
 05/22/2023   Meeting with Client and John         1.70                $552.50
              Oboyle, Esq. on need to further
              adjourn confirmation and increase
              distributions to creditors if
              possible. Reviewed filed
              objections and avenues to resolve.
 06/01/2023   Review of all business records to    0.60                $195.00
              determine vehicles currently in
              stock and who is the lienholder on
              same.
 06/01/2023   Phone call with client on review     0.40                $130.00
              of all excel spreadsheets for
              determining lienholder on current
              vehicles in stock.
 06/01/2023   Email to John O'Boyle, Esq. and      0.20                 $65.00
              Donna Thompson, Esq. on
              current AFC vehicles and request
              to propose consent order to
              recover remaining vehicles in
              stock.
 07/09/2023   Preparation of Consent Order         0.80                $260.00
              Vacating Automatic Stay for
              retrieval of AFC Vehicles and
              email to Donna Thompson, Esq.
              on proposed Order.
 08/01/2023   Phone call with John O'Boyle,        0.50                $162.50
              Esq. on outstanding taxes and
              need to adjourn.
 08/03/2023   Phone conference with Peter          0.50                $162.50
              D'Auria, Esq. from the US
              Trustee's office and concerns on
              matter case and being reviewed
              for conversion or dismissal.
 08/17/2023   Review and response to email         0.20                 $65.00
              from Judge Steckroth's Chambers
              on language of proposed AFC
              Order Vacating Stay.
 08/17/2023   Email to Donna Thompson, Esq.        0.20                 $65.00
              on Chambers' concern on the
              proposed Order and needed
              changes to submit back to
              Chambers.
 08/28/2023   Phone call with John O'Boyle,        0.20                 $65.00
              Esq. on concerns with Consent
              Order and case moving forward.
Case 22-18303-JKS        Doc 144-3 Filed 09/01/23 Entered 09/01/23 21:31:10     Desc
                                Exhibit B Page 14 of 14



 08/30/2023 Review of US Trustee's Motion    2.20                           $715.00
            To Convert or Dismiss BAV Auto
            Case and preparation of response
            to same for anticipated filing
            before hearing date. Review of
            relevant case law.
                                             133.60                       $45,483.50


 Amount                  + Tax                 - Payments            = BALANCE DUE
                                               Received
            $45,483.50                $ 0.00                $ 0.00          $45,483.50

With compliments
The Law Offices of Steven D. Pertuz LLC



Steven Pertuz
